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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

MISSOULA COUNTY,                                     CV 20–144–M–DLC

                     Plaintiff,

vs.                                                            ORDER

STATES SELF-INSURERS RISK
RETENTION GROUP, INC.,

                      Defendant.


      Before the Court is the parties’ Stipulation for Dismissal Without Prejudice.

(Doc. 17.) The parties seek the dismissal of this matter without prejudice. (Id.)

      Accordingly, IT IS ORDERED that the above-captioned matter is

DISMISSED without prejudice. Any deadlines, hearings, and the trial scheduled

for April 18, 2022 are VACATED.

      The Clerk of Court is directed to close the case file.

      DATED this 29th day of September, 2021.




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